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                          UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

                                              *
In re: Tagnetics, Inc.                        *       Case No. 19-30822
                                              *
                                              *       Judge Humphrey
                                              *       Chapter 7


                                       STATUS REPORT


         Alleged Debtor Tagnetics, Inc. (“Tagnetics”), submits this Status Report pursuant to the

Court’s Order dated August 7, 2019, in which the Court ordered the parties to file one or more

Status Reports in the event that the parties are unable to execute the settlement agreement they had

reached and dismiss this case. In providing the Court with this Status Report, Tagnetics states as

follows:

         1.     Tagentics provided a draft of the settlement agreement to Kenneth Kayser, Ronald

Earley, and Jonathan Hager (the “Remaining Petitioning Creditors”) by August 14, 2019, as the

Court required in its August 7, 2019 Order.

         2.     In subsequent email exchanges between the parties, it appears that the Remaining

Petitioning Creditors are seeking to alter terms of the agreement that were set forth in the parties’

term sheet, which was set forth in emails exchanged on July 26, 2019.

         3.     To this end, the emails exchanged on July 26, 2019 set forth a specific payment

schedule, included the phrase “[f]ull mutual releases (no carve outs)[,]” a commitment for the

Remaining Petitioning Creditors to dismiss/withdraw their claims within one day of receiving the

initial payment under the payment schedule, and other terms that do not appear to be relevant for

purposes of this Status Report. The Remaining Petitioning Creditors, however, are seeking carve




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outs to the full mutual releases and insist that additional payments beyond those included in the

payment schedule be made by Tagnetics. In addition, the Remaining Petitioning Creditors desire

to dismiss this case, without prejudice.

         4.    There are other terms that the Remaining Petitioning Creditors have identified in

email exchanges regarding the draft settlement agreement, some of which are not addressed in the

term sheet. While Tagnetics believes it can justifiably refuse to accept these other requests because

they are outside the parameters of the term sheet, Tagnetics is willing to consider these other terms,

but it has not taken a position with respect to these other terms while the other issues remain

unresolved, as Tagentics believes the terms sought by the Remaining Petitioning Creditors as

described in Paragraph 3 above (which can be explained in greater detail if/when a motion is filed)

clearly conflict with the terms of the agreement the parties reached. Tagnetics is willing to engage

in discussions regarding the other terms sought by the Remaining Petitioning Creditors that are

not addressed in the term sheet after matters that are specifically addressed in the term sheet are

resolved.


                                      Respectfully submitted,




/s/ Stephen B. Stern                                  /s/ Robert R. Kracht
Stephen B. Stern, Admitted Pro Hac Vice               Robert R. Kracht (0025574)
Kagan Stern Marinello & Beard, LLC                    McCarthy, Lebit, Crystal & Liffman Co., LPA
238 West Street                                       101 W. Prospect Avenue, Suite 1800
Annapolis, Maryland 21401                             Cleveland, Ohio 44115

Counsel for Alleged Debtor                            Counsel for Alleged Debtor
Tagnetics, Inc.                                       Tagnetics, Inc.




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                                 CERTIFICATE OF SERVICE
        I hereby certify that on August 21, 2019, a copy of the foregoing Status Report was served
(i) electronically on the date of filing through the Court’ s ECF System on all ECF participants
registered in this case at the email address registered with the court and (ii) electronically by email
on counsel for Tagnetics, Inc., Stephen Stern, Esq. (Stern@kaganstern.com), Douglas Draper, Esq.
(ddraper@hellerdraper.com) and Leslie Collins, Esq. (lcollins@hellerdraper.com), and (iii) by
ordinary U.S. Mail on August 21, 2019 addressed to:

Kenneth W Kayser                                   Bryan K. Stewart, Esq.
PO Box 115                                         104 West Main Street
Catawba, VA 24070                                  Tipp City, OH 45371

Ronald E. Early
6429 Winding Tree Drive
New Carlisle, OH 45344

Jonathan Hager
842 Paint Bank Road
Salem, VA 24153

MaryAnne Wilsbacher
Office of the United States Trustee
170 North High Street
Suite 200
Columbus, Ohio 43215



                                                       /s/ Robert R. Kracht
                                                       Robert R. Kracht (0025574)




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